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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

 JOHN DOE,
                Plaintiff
        v.                                            Civil Action No: 1:19-cv-11626-DPW

 TRUSTEES OF BOSTON COLLEGE,
                Defendant

             DEFENDANT’S MOTION TO DISMISS AMENDED COMPLAINT

       The defendant, Trustees of Boston College (“BC”), moves to dismiss the Amended

Complaint for failure to state a claim pursuant Fed. R. Civ. P. 12(b)(6). In support of its motion,

BC submits the accompanying Memorandum and incorporates by reference, the Declaration of

Elizabeth H. Kelly, Dkt. No. 51, with exhibits thereto.

                                               TRUSTEES OF BOSTON COLLEGE,

                                               /s/Elizabeth H. Kelly
                                               Daryl J. Lapp (BBO No. 554980)
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                                               Elizabeth H. Kelly (BBO No. 672277)
                                                   liz.kelly@lockelord.com
                                               LOCKE LORD LLP
                                               111 Huntington Avenue
                                               Boston, MA 02199
November 21, 2019                              617.230.0100


                            Certification Pursuant to Local Rule 7.1(a)(2)

        I certify that counsel for BC have conferred with opposing counsel in a good-faith effort
to narrow or resolve the issues raised in this Motion.

                                                        /s/ Elizabeth H. Kelly
                                                        Elizabeth H. Kelly




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                                     Certificate of Service

        I certify that on November 21, 2019, this document was filed through the Electronic Case
Filing System of the United States District Court for the District of Massachusetts and will be
served electronically by the Court to the Registered Participants identified in the Notice of
Electronic Filing.


                                                   /s/ Elizabeth H. Kelly
                                                   Elizabeth H. Kelly




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